  Case 2:22-cr-00013-SDW Document 12 Filed 02/07/22 Page 1 of 2 PageID: 25



                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA :                Hon. Susan D. Wigenton

            v.                        :    (Crim No. 22-13) (SDW)

 JOSEPH SCHWARTZ                     :

                           ORDER FOR CONTINUANCE


                 This matter having come before the Court on the joint application
of Philip R. Sellinger United States Attorney for the District of New Jersey
(by V. Grady O’Malley, Sr. Litigation Counsel), and defendant Joseph Schwartz
(by Robert J. Fedor, Esq.), for an order granting a continuance of the
proceedings in the above-captioned matter from the date this Order is signed
through and including May 6, 2022, to permit defense counsel the reasonable
time necessary for effective preparation in this matter; and the defendant being
aware that he has the right to have the matter brought to trial within 70 days
of the date of his appearance before a judicial officer of this court pursuant to
Title 18, United States Code, Section 3161(c); and no prior continuances
having been entered; and time having been excluded from the date of the
defendant’s arrest through May 6, 2022; and the defendant, through the
defendant’s attorney, having consented to the continuance; and for good and
sufficient cause shown,
IT IS THE FINDING OF THIS COURT that this action should be continued for
the following reasons:
      (1)        Taking into account the exercise of diligence, the facts of this case
require that defense counsel be permitted a reasonable amount of additional
time for effective preparation in this matter;
      (2)        The defendant has consented to the aforementioned continuance;
  Case 2:22-cr-00013-SDW Document 12 Filed 02/07/22 Page 2 of 2 PageID: 26



       (3)   The grant of a continuance likely will conserve judicial resources;

and;

       (4)   As a result of the foregoing, pursuant to Title 18, United States Code,
Section 3161(h)(7), the ends of justice served by granting the continuance
outweigh the best interests of the public and the defendant in a speedy trial.


WHEREFORE, it is on this 7th day of February, 2022;

       ORDERED that this action be, and it hereby is, continued from the date
this Order is signed through and including May 6, 2022; and it is further
       ORDERED that the period from the date this Order is signed through and
including May 6, 2022, and shall be excludable in computing time under the
Speedy Trial Act of 1974.


                                      HONORABLE SUSAN D. WIGENTON
                                      United States District Judge


consented to:
V. Grady O’Malley
________________________
V. Grady O’Malley
Senior Litigation Counsel


s/Robert J. Fedor
_______________________
Robert J. Fedor, Esq.
Counsel for Defendant
